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                                              Ronald S. Sullivan Jr.


                                                              August 8, 2024



         VIA ECF
         The Honorable Eric R. Komitee
         United States District Judge
         Eastern District of New York
         225 Cadman Plaza East
         Brooklyn, New York 112011


         Re: United States v. Carlos Watson and OZY Media, Inc. Criminal Docket No. 23-82 (EK):
         Response to Government’s Appeal re Carlos Watson’s Bail Pending Sentencing



         Dear Judge Komitee:

                Mr. Watson, by and through undersigned counsel, respecRully requests that the Court
         aﬃrm Magistrate Judge Scanlon’s Order granWng Mr. Watson bail. See ECF No. 286. When the
         Court remanded Mr. Watson on July 16, 2023, the Court noted:

                 If the defense wants to come back with a meaningfully strengthened bail package, I
                 would be willing to consider that, of course. I’m not suggesting that it will carry the day
                 or that it won’t, but I would have expected that people would at least be thinking about
                 that possibility and that plans be at least in the works to see what additional sureties,
                 maybe independent third-party sureties, I don’t know, might have something to add.

         Tr. 4645, Ln 1 – 4646 Ln 1-7. We believe that Mr. Watson has tendered a “meaningfully
         strengthened bail package,” which Magistrate Judge Scanlon – after five consecutive days of
         hearings – accepted.

                 Although the government’s letter (ECF No. 287) veers into a sprawling range of issues it
         invites the Court to consider, a long and unchanging line of cases confirms that the Court
         should only consider whether Mr. Watson’s bail package will reasonably ensure his presence at
         sentencing and protect against harm to others and the community. This meaningfully
         strengthened bail package satisfies both conditions. Indeed, as the Magistrate Judge remarked,
         “[T]here is really an extraordinary number of sureties here. I don’t know if I have ever seen this
         number.” Judge Scanlon also observed, after both the government and the Court interviewed
         the prospective guarantors, “Often bail packages effectively decrease because the more people

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         learn about the circumstances of the case, the less willing they are to be sureties. That's not what
         happened here. We had more people come forward…” Indeed, in Mr. Watson’s revised and
         meaningfully strengthened bail package, he has 17 sureties who collateralize over $1m dollars
         of a $3m bond.

         Moral Suasion

                 The moral suasion consideration is quite evident in Mr. Watson’s bail package. This is
         particularly apparent in the family land in Virginia that nine members of Mr. Watson’s family –
         most in their 80’s and 90’s – agreed to utilize as collateral to support the bail package, which an
         independent real estate expert valued at between $400,000 and $800,000. See Exhibit A.1

                 In addition to the family land, Mr. Watson has several family friends who have come
         forward and put up assets on his behalf. Long-time family friend Allison Wallace Estes and her
         husband GL Estes Wallace have put up $100,000 equity in their home in support of Mr. Watson.
         Amy Troner, another long-time friend of the Watsons, and her father, Dr. Michael Troner, have
         encumbered cash from their money market accounts. Dr. Jacqueline Mattis, who holds a
         decanal position, at a local university, pledged everything she was able to encumber from two
         retirement account plus cash to raise $100,000 in support. All in, approximately 19 friends and
         family supported Mr. Watson in creating a meaningfully strengthened bail package. All the
         security has been perfected. See Exhibit B1-B9.

                    Below is a grid that outlines the various sureties who support Mr. Watson:



                                                                    ***




         1
             Per Judge Scanlon’s approval, the exhibits are filed under seal as they contain private information.


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         Most White-Collar Defendants remain on Release Status in the EDNY

             For non-violent, white-collar cases, the clear practice in this jurisdiction (and other federal
         districts) is to allow a convicted individual to remain on bail pending sentencing. See, e.g.,
         United States v. Abboud, No. 16 Cr. 396 (ERK) (E.D.N.Y. July 9, 2019) (ECF No. 154, Tr. 1363:15–
         1364:20) (where the defendant was convicted of stealing more than $1 million from a charity to
         buy luxury goods and had “extensive ties to Egypt,” the government determined on the record
         not to seek postconviction remand) (Komitee, J.); United States v. Javier Aguilar,
         No. 20 Cr. 390 (ENV) (E.D.N.Y.) (Government sought post-conviction bail for foreign-national
         defendant convicted of white-collar offenses. Post-conviction bail was granted by increasing
         secured bond from $100k to $2mm and changing home confinement secured by smartlink app
         to ankle bracelet.); United States v. Desu, No. 18 Cr. 613 (MAS), 2019 WL 5693222, at *1–2

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         (D.N.J. Nov. 4, 2019) (defendant convicted of six counts of tax fraud, who had strong ties to
         India and the United Arab Emirates (which lacks an extradition treaty with the United States)
         released where he “ha[d] been compliant with all conditions of his release,” surrendered his
         passport, secured his bond with his family home, and had “deeply-rooted emotional, familial,
         and reputational ties to the United States”); United States v. Hagen, No. 3:19 Cr. 146 (DLH),
         2021 WL 2895915, at *2, *4–5 (N.D. Tex. July 9, 2021) (agreeing that “[t]he release of
         defendants pending sentencing on charges related to health care fraud is routinely granted”
         and releasing defendant who “currently has no passport or other international travel document
         or history of failing to appear for court, and has an incentive to stay in place and work with her
         attorneys to prepare for sentencing and to get her affairs in order, including planning for life
         after incarceration”); United States v. Koerber, No. 2:17 Cr. 37 (FB) (PMW), 2019 WL 3937024,
         at *1 (D. Utah Aug. 20, 2019) (Block, J., sitting by designation) (allowing defendant to remain on
         post-trial release pending sentencing after conviction on “fifteen counts of wire fraud, money
         laundering, and securities fraud”); United States v. Sogbein, No. 12 Cr. 54 (JSW), 2014 WL
         12705058, at *2 (N.D. Cal. Jan. 10, 2014) (granting motion to reconsider postconviction
         detention order in healthcare fraud case where defendant posted bond, was subject to travel
         restrictions and location monitoring, and had “a strong incentive not to create any further
         disruptions to her familial relationships”); United States v. Mikell, No. 97 Cr. 81493 (DT), 2007
         WL 188566, at *2 (E.D. Mich. Jan. 22, 2007) (defendants posed no risk of flight after conviction
         given the many years they “remained on bond without any incident” and their “substantial
         family and community ties”); United States v. Boyd, No. 21 Cr. 486 (SHS), 2022 WL 790771, at
         *1 (S.D.N.Y. Feb. 3, 2022) (defendant met heightened standard for presentencing release in
         drug case because preexisting conditions of release, including $250,000 bond, home detention,
         location monitoring, and travel restrictions, were enough to limit any risk of flight); United
         States v. Campbell, No. 20 Cr. 631 (AKH), 2022 WL 2209371, at *1 (S.D.N.Y. June 21, 2022)
         (heightened standard for presentencing release met in drug case because defendant was “not
         likely to flee or pose a danger” since he “has been at liberty on bail since December 2020 and in
         that time has had no violations”); United States v. McDuffie, 451 F. Supp. 3d 281, 285 (S.D.N.Y.
         2020) (“[t]here is no serious dispute that [the defendant] is unlikely to flee” after conviction on
         drug charges given his lack of prior record, his community ties, and because “any flight attempt
         would be hampered by his surrendering of travel documents”); United States v. Rentas, No. 09
         Cr. 555 (HB), 2009 WL 3444943, at *2 (S.D.N.Y. Oct. 26, 2009) (heightened standard for
         presentencing release met in drug case where defendant with no criminal history “was released
         on bail for five months without incident and complied fully with the conditions of her release”).
         See also, United States v. Johnson, No. 16 Cr. 457 (NGG), 2017 WL 11563342, at *1–3 (E.D.N.Y.
         Dec. 13, 2017) (Garaufis, J.); United States v. Sabhnani, 529 F. Supp. 2d 377, 382–83 (E.D.N.Y.
         2007) (Spatt, J.); United States v. Roger Ng, No. 18 Cr. 538 (MKB) (E.D.N.Y.) (Brodie, J.); United
         States v. Scott, No. 17 Cr. 630 (ER) (S.D.N.Y. Nov. 21, 2019) (ECF No. 209, Tr. 2080:18–2081:22)
         (Ramos, J.).




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                There is ample doctrinal support to affirm Judge Scanlon’s order. The weight of
         authority militates in favor of release, and we urge to the Court to so order forthwith.

         Dangerous Conditions at MDC

                 As recently as this Monday, August 5, 2024, Judge Brown of EDNY has recognized “the
         dangerous, barbaric conditions that have existed for some time at the Metropolitan Detention
         Center (“MDC”) in Brooklyn.” U.S. v Colucci, ___ F.Supp.3d ___, 2024 WL 3643857 at *1
         (E.D.N.Y. Aug. 5, 2024). Mr. Watson’s experience at MDC has indeed borne this out. A mere two
         days after Mr. Watson was remanded to MDC, a non-violent detainee was murdered – stabbed
         to death, marking the second violent death at the facility within a two-month span.2 In
         response, the institution has suspended all visitation privileges, strongly suggesting the
         implementation of draconian lockdown measures previously deployed by MDC, and described
         more fully below.3 In addition, Mr. Watson has been in isolation at the Special Housing Unit due
         to particularized threats to his life.4

                 Even this Court has recognized the “severe prison conditions” that exist at MDC and in
         U.S. v. Griffin, No. 22-CR-408 (EK), 2024 WL 2891686, at *3 (E.D.N.Y. June 10, 2024), granted
         compassionate release to a defendant serving time for violating supervised release primarily on
         those grounds. Colucci, --- F.Supp.3d ---, 2024 WL 3643857 at *2.
                The Court has discreWon to maintain Mr. Watson’s release status pending sentencing
         upon a ﬁnding of the presence of “excepWonal reasons” why Mr. Watson’s "detenWon would not
         be appropriate." 18 U.S.C. § 3145(c). Notably, the Chavez court concluded “the condiWons at the
         MDC are themselves “excepWonal reasons” why … detenWon pending sentencing would not be
         appropriate.” United States v. Chavez, No. 22-CR-303 (JMF), 2024 WL 5023 (S.D.N.Y. Jan. 4,
         2024).
                 The July 18, 2024, murder is not the only condiWon that militates in favor of release
         pending sentencing. To begin, detainees at the MDC are currently subject to excessive periods
         of "lockdown," during which they are conﬁned to their cells and barred from accessing visits,
         phone calls, hygiene faciliWes, educaWonal programs, or physical acWvity. Id. As recently as June
         24, 2024, following a diﬀerent murder at the facility, detainees were subjected to a stringent
         lockdown. One detainee reported, “we come out of our cell every three days for a 15-minute




         2
          Courtney Gross, Exclusive: Inmates Decry Condi7ons Inside Brooklyn Jail, NY1 (June 24, 2024, 7:30 PM),
         h<ps://ny1.com/nyc/all-boroughs/poliHcs/2024/06/24/brooklyn-federal-jail-murder-condiHons.
         3
             h<ps://www.bop.gov/locaHons/insHtuHons/bro/ (last visited July 18, 2024).
         4
             The details were discussed at side bar with Magistrate Judge Scanlon.


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         shower.” 5 Both the Chavez Court and the Supreme Court have emphasized that conﬁning
         inmates to their cells is … tantamount to solitary or near-solitary conﬁnement, a pracWce that is
         increasingly viewed as inhumane. Id. See Johnson v. PrenWce, 144 S. Ct. 11, 12 (2023) (Jackson,
         J., dissenWng from denial of cerWorari) (“As Members of this Court have recognized, the pracWce
         of solitary conﬁnement ‘exact[s] a terrible price.’” (quoWng Davis v. Ayala, 576 U.S. 257, 289
         (2015) (Kennedy, J., concurring)). On July 18, 2024, MDC's physical infrastructure has been
         consistently condemned as deplorable, with numerous federal judges and aworneys vehemently
         criWcizing its inhumane and degrading condiWons. Chavez at *12. In 2021, the MDC carried out
         “planned maintenance” on the electrical system by enforcing a lockdown “over the course of
         four nights” with no power and no water, Federal Defenders of NY, Inc. v. Federal Bureau of
         Prisons, No. 19-CV-660 (MKB) (E.D.N.Y. Oct. 15, 2021), Conf. Tr. at 8-9. The problems persist and
         have seemingly gowen worse. Just last month, David Pawon, the former head of Federal
         Defenders of New York, decried that “a lack of medical care to real serious sanitaWon issues to
         maggots in the food to violence, everything you can think about that’s problemaWc at a jail or
         prison is problemaWc at the MDC, and it has been for a very long Wme.”6 Disturbingly, it has also
         been reported that the emergency call buwons in the MDC are oxen not working — even
         though those buwons are the only way (other than yelling and banging) to call an oﬃcer in
         emergency situaWons during a lockdown.7
                 The most alarming and dangerous problem facing the facility is its severe understaﬃng.
         OperaWng at a mere 55% of required correcWonal oﬃcer staﬃng over the past year, the
         insWtuWon faces a perilous scenario where a single oﬃcer is responsible for monitoring ten
         prisoners—a raWo that severely compromises safety and security. Chavez at *14. According to a
         recent memo by the president of the union local that represents MDC’s correcWonal oﬃcers,
         “[o]n a daily basis housing units . . . are lex . . . unmanned by staﬀ and locked down, with the
         expectaWon . . . that a single [] Oﬃcer is to make rounds, feed, and perform addiWonal
         correcWonal duWes” on three units during a single shix. United States v. Irizarry, 23-CR-60 (JMF),
         ECF No. 47-3 (S.D.N.Y. Oct. 30, 2023) at 1-2. The frequency of lockdowns “angers the inmates
         and heightens the inherent danger for staﬀ,” but “[c]overage is so minimal that at Wmes there
         are only 6 staﬀ members available to respond to body alarms, staﬀ assists, and [/] or inmate
         medical emergencies.” and there is “no reason to believe that the staﬃng side of the equaWon
         will change any Wme soon.” Id. And it is for this reason the Chavez court urged that the “only
         opWon is to reduce – or at least not add unnecessarily to – the prisoner populaWon.” Chavez at
         *15. For the aforemenWoned reasons, the Chavez Court held that the condiWons at the MDC
         consWtute “excepWonal reasons” why detenWon of most defendants who do not pose a risk of


         5
             Gross, supra note 1.
         6
             Id.
         7
           Le<er from Lore<a E. Lynch at 4, Fed. Defenders of N.Y., Inc. v. Fed. Bureau of Prisons, No. 19-CV-660 (MKB)
         (E.D.N.Y. Nov. 30, 2023), ECF No. 403.


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         ﬂight or danger to the community “would not be appropriate.” 18 U.S.C. § 3145(c). See United
         States v. Arias, No. 22-CR-495 (PAE), slip op. at 33 (S.D.N.Y. May 5, 2023) (conWnuing defendant's
         bail pursuant to § 3145(c) due to MDC's "unacceptable," "inhospitable, [and] terrible"
         condiWons, despite the fact that "[t]he pandemic is now on the wane").
         Carlos Watson Sr.’s Health
                 Mr. Watson’s father, Carlos Watson Sr., is in a precarious status with respect to his
         health. Awached is a lewer from his physician, Dr. Rhonda Hamilton outlining Mr. Watson Sr.’s
         deterioraWng health. See Exhibit C. Mr. Watson Sr. is now 90 years old and suﬀering from
         metastaWc prostate cancer, advanced diabetes, signiﬁcant heart issues, including congesWve
         heart failure, and excessive bleeding. The devastaWng news of his son’s convicWon further
         impacted his already deterioraWng health. Should Mr. Watson be released, we fear but expect
         that this will be the ﬁnal opportunity for Mr. Watson to see his father before he passes.
                                                             ***
                Based on all the foregoing, we respecRully request that this Court aﬃrm Magistrate
         Judge Scanlon’s grant of bail.


                                                              Sincerely,




                                                              Ronald S. Sullivan Jr.
                                                              Janine Gilbert
                                                              Counsel for Carlos Watson




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